Case 1:21-cv-00201-JMS-MG Document 138 Filed 07/31/23 Page 1 of 4 PageID #: 1497




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION


 KEVIN JOHNSON,                                      )
                                                     )
                       Plaintiff,                    )
                                                     )
               v.                                    )      No. 1:21-cv-00201-JMS-MG
                                                     )
 JOHN PURDUE, et al.                                 )
                                                     )
                       Defendants.                   )

               MEDICAL DEFENDANTS’ RESPONSE IN OPPOSITION TO
                  PLAINTIFF’S MOTION TO VACATE JUDGMENT

        NOW COME the Medical Defendants, CIEMONE EASTER-ROSE, PHD, HSPP, DAWN

 INGALLS, DA, GREGG NOLL, DDS, PATRICIA NORTHCUTT, BHS, MARTIN PERDUE,

 LSW, AND WEXFORD OF INDIANA, LLC, by their attorney SARAH J. SHORES-SCISNEY

 of STOLL KEENON OGDEN PLLC, and for their Response in Opposition to Plaintiffs Motion

 to Vacate Judgment, state the following:

                                    I.   PROCEDURAL HISTORY

    On June 2, 2022, Medical Defendants filed their Motion for Summary Judgment, serving a

 copy to Plaintiff’s last known address. [D/N 105]. The Motion for Summary Judgment was not

 returned to Medical Defendants as undeliverable. Plaintiff filed a Notice of Change of Address on

 October 17, 2022. [D/N 114]. On October 24, 2022, Plaintiff filed a Notice to the Court, stating

 that he had not received a copy of Medical Defendants’ Motion for Summary Judgment. [D/N

 115]. Medical Defendants did not send Plaintiff another copy of their Motion for Summary

 Judgment. As such, on January 19, 2023, this Court denied Medical Defendants’ Motion for

 Summary Judgment without prejudice, granting them leave to re-file the Motion by February 2,
Case 1:21-cv-00201-JMS-MG Document 138 Filed 07/31/23 Page 2 of 4 PageID #: 1498




 2023, and granting Plaintiff 28 days from the date of service to respond. [D/N 121]. Plaintiff admits

 that he received this Order. [D/N 134 at ¶ 2]. Medical Defendants re-filed their Motion for

 Summary Judgment on January 19, 2023, and served it on that date to the address in the

 Distribution list of the Court’s Order. [D/N 121, 122]. The Motion for Summary Judgment was

 not returned to Medical Defendants as undeliverable. Plaintiff did not respond to Medical

 Defendants’ Motion for Summary Judgment, nor did he submit any other filings to the Court, or

 send any correspondence to undersigned counsel. On June 22, 2023, this Court granted Medical

 Defendants’ Motion for Summary Judgment. [D/N 129]. On July 10, 2022, within 18 days of the

 Court’s Order on the Motions for Summary Judgment, Plaintiff filed his Motion for Contempt

 Proceedings and Court Intervention (D/N 132), as well as his Motion to Vacate Order and

 Judgment Granting Defendants’ Summary Judgment Motions and Dismissing this Action (D/N

 134).

                                         II.     ARGUMENT

     This Court should deny Plaintiff’s Motion to Vacate Order and Judgment. First, Plaintiff has

 demonstrated his ability to promptly receive mail at his current institution, as evidenced by his

 admission that he received two Court orders, and has also demonstrated his ability to send mail,

 as evidenced by his ability to file his Notice of Change of Address and his most recent Motions. It

 seems questionable that certain legal mail gets through to him, just not Defendants’ Motions for

 Summary Judgment. Additionally, while Plaintiff alleges that he has been denied all of his legal

 property since June 30, 2022, this case was already closed by then, so that would not have affected

 his ability to litigate this case.

     Second, Plaintiff was aware of Defendants’ deadline to re-file their Motions for Summary

 Judgment, yet did not reach out to the Court, nor defense counsel, when that deadline came and
Case 1:21-cv-00201-JMS-MG Document 138 Filed 07/31/23 Page 3 of 4 PageID #: 1499




 went without receiving them. Notably, he has not made any filing nor taken any action since

 notifying the Court of his new address in October 2022 and alleging that he had not received

 Defendants’ originally filed Motions for Summary Judgment.

     Finally, Medical Defendants would be prejudiced if Plaintiff were granted a third opportunity

 to respond. Medical Defendants have complied with this Court’s Orders and have now served

 Plaintiff two copies of their Motion for Summary Judgment at two separate facilities. This case

 was filed in January of 2021, and remained pending against Defendants for over 2 years. If this

 case were reopened now and summary judgment briefing resumed, it would likely be another two

 years before a trial was held, should this case survive summary judgment based on Plaintiff’s

 Response. Defendants should not be subjected to further litigation and further threat to their

 professional licenses due to Plaintiff’s repeated failure to litigate his case.

         WHEREFORE, the Defendants, Ciemone Easter-Rose, PhD, HSPP, Dawn Ingalls, DA,

 Gregg Noll, DDS, Patricia Northcutt, BHS, Martin Perdue, LSW, and Wexford of Indiana, LLC,

 respectfully request that this Court deny Plaintiff’s Motion to Vacate Order and Judgment.

                                                 Respectfully submitted,

                                                 STOLL KEENON OGDEN PLLC


                                                 /s/ Sarah J. Shores-Scisney
                                                 Sarah J. Shores-Scisney, Attorney No. 35746-49
                                                 Douglass R. Bitner, Attorney No. 34981-49
                                                 STOLL KEENON OGDEN PLLC
                                                 The Emelie Building
                                                 334 N. Senate Avenue
                                                 Indianapolis, IN 46204
                                                 Office (317) 464-1100; Fax (317) 464-1111
                                                 Sarah.Shores@skofirm.com
                                                 Doug.Bitner@skofirm.com
                                                 Counsel for Medical Defendants
Case 1:21-cv-00201-JMS-MG Document 138 Filed 07/31/23 Page 4 of 4 PageID #: 1500




                                 CERTIFICATE OF SERVICE


        I certify that on July 31, 2023, a copy of the foregoing Response in Opposition to

 Plaintiff’s Motion to Vacate was filed electronically using the Court’s electronic filing system

 (CM/ECF). Notice of this filing was electronically served via CM/ECF upon the following

 person(s):

        Erica L. Sawyer
        INDIANA ATTORNEY GENERAL’S OFFICE
        Erica.Sawyer@atg.in.gov

 I certify a copy of the foregoing was sent via U.S. First Class Mail to the following person(s):

        Kevin Johnson (#1007485)
        VA DOC CENTRAL MAIL DISTRIBUTION CENTER
        Inmate Mail/Parcels
        3521 Woods Way
        State Farm, VA 23160
        PRO SE

                                               /s/Sarah J. Shores-Scisney
                                               Sarah J. Shores-Scisney
